                         Case 20-17395-LMI                Doc 14        Filed 07/22/20           Page 1 of 1


 RE: Damaris Travieso                                                                                        Case # 20-17395 LMI
      TRUSTEE’S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION (Pre 341)
   The Trustee reviewed this case for the meeting of creditors and found the following deficiencies from the Trustee’s letter requesting
                          documents and thus objects as follows: Reviewed documents received prior to: 7/20/20
  Tax returns:                                         Corporate Tax Returns:
✔ PhotoLF
        ID1                 LF 90                         LF 67        LF 10
  Plan does not fund properly
   Calculation errors       Missing months/amounts            Inconsistent terms       Plan form completed incorrectly
   Attorney fee itemization or Fee Application needed (see court guideline 6)
   Missing 2016(B)                                            ✔ Missing Attorney's Declaration & 341 Written Quest.
✔ Other provisions: ✔ IVL                         100%        Lawsuit  Gambling      MMM
   Reaffirm, redeem or surrender Sch D or G creditor:
   MMM Motion not filed        Valuation motion not filed                            Lien Avoidance motion not filed
   Priority debt on Schedule E not in plan:
   Creditor in Plan is not listed in Schedules or has not filed a POC:
   Creditor paid through the Plan has not filed a POC:
   Object or Conform to Proof of Claim:           Miami-Dade County            Tax Certificate (DE#      )      Dept of Revenue
        IRS
    OTHER PLAN ISSUES:




   Real Estate FMV and Payoff:
  Non-Homestead Information Sheet:
✔ Vehicles FMV (NADA/Carmax), Reg and Payoff:
  Other:
✔ Bank Account Statements ✔ 3 months pre-petition



   Copy of check(s) and/or explanation:
   Explanation of withdrawal(s):
   401K/Retirement/Pension                            Annuity                              Life Insurance Policy
  Domestic Support Obligation form complete with info: name, address and phone
  Wage deduction order or Motion to waive
✔ BDQ & attachments                 ✔ Profit/loss ✔ Balance Sheet
✔ Business Bank statements and checks ✔ 3 months pre-petition



   Affidavit of support
    Trustee reserves the right to raise additional objects until all requested documents are timely provided. This deficiency is limited to
 missing documents only. The Trustee will file a Notice of Deficiency with additional document requested and legal issues raised after the
    341 - meeting of creditors. I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s
                  attorney or by U.S. First Class pre-paid Mail on the pro se debtor on the same day filed with the Court.
    Submitted by NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE P.O. BOX 279806, MIRAMAR, FL 33027
  *DOCUMENTS MUST BE RECEIVED OR FILED AND ISSUES ADDRESSED AT LEAST FOURTEEN DAYS PRIOR TO EACH
                            CONFIRMATION HEARING TO AVOID DISMISSAL*
